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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF LOUISIANA
                          MONROE DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General,
  JEFF LANDRY, et al.,                 Civil Action No. 3:21-cv-03970
                           PLAINTIFFS,

  v.                                     District Judge Terry A. Doughty

  XAVIER BECERRA, in his official
  capacity as Secretary of Health and Magistrate Judge Kayla D. McClusky
  Human Services, et al,;
                          DEFENDANTS.



            RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                                    INTRODUCTION
        The Supreme Court has effectively resolved the appeal of the preliminary

  injunction, but not this case itself, a distinction that makes Defendants’ Motion to

  Dismiss—and their attempted sleight of hand in conflating the two—inappropriate

  at this time.   Additionally, Defendants (collectively “CMS”) have used the time

  while the Fifth Circuit has retained jurisdiction over the case via the appeal—and

  Plaintiffs (the “States”) have thus been unable to amend their pleadings—to expand

  the scope of the vaccine mandate by issuing additional guidance documents but

  shielding them from review, further implicating the States’ interests.

                                     BACKGROUND
        This Court issued a preliminary injunction against the CMS Interim Final

  Rule (“IFR”) creating a COVID-19 Vaccine Mandate based on specific factors it

  listed in its opinion, but specifically stated that it did not do so based on the States’

  Anti-Commandeering claims. Order, Dkt. 28 at PageID# 661. Defendants appealed

  that decision, and ultimately the Supreme Court ruled to stay it. Biden v. Missouri,

  142 S. Ct. 647 (2022). In the wake of the Supreme Court’s decision, Defendants

  expanded the reach of the IFR with the January 25 and February 9 Guidance

  documents and began enforcement based via avenues they previously represented

  to courts that they would not pursue.             CMS, QSO-22-10-ALL, Vaccination

  Expectations       for      Surveyors          Performing      Federal        Oversight,

  https://go.cms.gov/34pQK3G (“January 25 Guidance”); CMS QSO-22-12-ALL, State

  Obligations to Survey to the Entirety of Medicare and Medicaid Health and Safety

  Requirements under the 1864 Agreement (Feb. 9, 2022), https://go.cms.gov/34PVy24,


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  (“February 9 Guidance”). Plaintiffs attempted to raise issues regarding the January

  25 Guidance with a Second Amended, Supplemental, and Restated Complaint

  (“Second Amended Complaint”) but this Court issued an Indicative Ruling stating

  that it would accept the filing but it may not currently have jurisdiction to do so

  during the pendency of the appeal.1 The merits of that appeal are now fully briefed

  and awaiting the Fifth Circuit’s judgment. Defendants filed their Motion to Dismiss

  in the intermediate time between their own new actions giving rise to the Second

  Amended Complaint and the end of the Fifth Circuit’s jurisdictional hold on the

  appeal, while the district court litigation has been unable to evolve because the

  States’ and this Court’s hands are still temporarily tied.

                                       ARGUMENT
  I.    Dismissing the First Amended Complaint is Not Appropriate as it
        Contains Live Claims to be Litigated, Including Counts Not Included
        in the Appeal.
        The States’ First Amended Complaint contains live claims that have not been

  settled by the Supreme Court decision in Missouri v. Biden and that meet the

  standard to survive a motion to dismiss. To survive CMS’s 12(b)(6) motion, the

  States need only “plead enough facts ‘to state a claim to relief that is plausible on its

  face.’” Harvey v. Preload, LLC, 2:21-CV-00401, 2022 WL 495174, at *3 (W.D. La.

  Feb. 17, 2022) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009)). The States

  have done so to a sufficient extent not only to survive this motion to dismiss, but for

  this Court to previously find that the States were likely to succeed on the merits


  1 The February 9 Guidance was issued after the States requested leave to file the
  Second Amended Complaint but the States have included it in their emergency
  pleadings before the Fifth Circuit.

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  and thus issue a preliminary injunction against CMS.         Preliminary Injunction

  Memorandum Opinion and Order, Dkt. 28 and 29. And appellate jurisdiction is

  limited to prohibit the appellate court from considering “the correctness of the

  plaintiff's version of the facts.” Good v. Curtis, 601 F.3d 393, 397 (5th Cir. 2010)

  (quoting Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 194 (5th Cir.2009)). This Court

  could not have made the factual findings necessary to issue that order without a

  properly pled complaint. CMS’s motion to dismiss here is thus based solely on the

  legal impact of the Supreme Court's decision in Missouri, but that opinion is limited

  to the issues before it on appeal and does not encompass all the counts brought in

  the States’ First Amended Complaint.         For this reason, the First Amended

  Complaint survives CMS’s blanket motion to dismiss.

        A.     Defendants’ Appeal of the Preliminary Injunction is Limited in
               Scope so the Anti-Commandeering Claims and Issues Arising
               from Defendants’ Subsequent Policymaking are Proper and
               Live Before This Court.

        In addition to being prohibited from reviewing this Court’s factual findings,

  the appeals court’s jurisdiction is limited “only to those parts of an interlocutory

  order that relate to the grant of an injunction.” Ass'n of Co-op. Members, Inc. v.

  Farmland Indus., Inc., 684 F.2d 1134, 1138 (5th Cir. 1982). Therefore, the appeal of

  the preliminary injunction to the Fifth Circuit and then the Supreme Court would

  be limited to only those determinations on which this Court relied in order to reach

  its decision to grant an injunction. Auto Parts Mfg. Mississippi, Inc. v. King Const.

  of Houston, L.L.C., 782 F.3d 186, 191 (5th Cir. 2015) (first identifying the

  determinations “the district court relied on” to reach its injunction before


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  proceeding to review). The Complaint, and by incorporation the First Amended

  Complaint, included as Count IX that “The Vaccine Mandate Violates the Anti-

  Commandeering Doctrine.” Compl., Dkt. 1 at PageID# 45-46; First A. Compl., Dkt.

  11. But this Court expressly stated that it could not base its injunction on the Anti-

  Commandeering Doctrine claims because “this Court is unable to tell (at this point)

  whether and/or how many of the providers and suppliers are run by states,” and so

  it could not find sufficient evidence to prove the violation.      Order, Dkt. 28 at

  PageID# 661.

        As this Court did not base its preliminary injunction on the States’ Anti-

  Commandeering Doctrine claims, Count IX was outside of the jurisdiction for CMS’s

  appeal and therefore has not been resolved as a matter of law. Importantly, Count

  IX does clear the motion to dismiss pleading standard despite the lack of evidence to

  satisfy the higher standard for preliminary injunction purposes because the

  Complaint specifies that there are “state-run hospitals” that are impacted by the

  mandate; no evidence beyond that pleading is required to determine that “a claim to

  relief that is plausible on its face,” as required by Iqbal. Dkt. 1 at ¶ 193; 129 S.Ct.

  at 1949.

        The additional claims Plaintiffs wish to bring, should they be allowed to

  amend their complaint, are likewise not precluded by the Supreme Court’s Missouri

  decision as they pertain to the January 25 Guidance and February 9 Guidance,

  which affect implementation of the IFR but were issued only after Missouri. And as

  the Complaint survives at least through Count IX, Plaintiffs should be given the



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  opportunity to amend their complaint when the Fifth Circuit returns jurisdiction

  over the case to this Court.

         B.     This Court’s Jurisdiction of Remaining Claims will Resume in
                full after Resolution of the Fifth Circuit Appeal.

         As this Court noted in its Memorandum Ruling of February 9, 2022,

  jurisdiction over this case resides with the Fifth Circuit as the appeal of the

  preliminary injunction is still pending before it. Dkt. 59 at PageID# 917. But once

  that appeal—which is now fully briefed on the merits—is resolved, this Court will

  not have to consider whether “an amendment … could affect the pending appeal.”

  Id. Therefore, it is likely this Court will soon have the case returned to it and it

  may grant the States’ motion to amend their complaint as indicated in the

  Indicative Ruling. Id. The timing of CMS’s motion to dismiss in the window during

  which the parties are merely waiting for the Fifth Circuit’s merits decision should

  not deny the States the ability to continue with their case as they would be able to

  should that decision have already been issued.

                                   CONCLUSION
         For the foregoing reasons, this Court should deny Defendants’ Motion to

  Dismiss the First Amended Complaint.

         Dated: April 8, 2022               Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that I presented the above and foregoing for

  filing and uploading to the CM/ECF system which will send electronic notification of

  such filing to all counsel of record.

  Dated: April 8, 2022                         /s/Elizabeth B. Murrill
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